
COPE, Judge
(specially concurring).
The plea colloquy supports defendant-appellant’s claim that he was misadvised that he would be eligible for parole upon completion of his mandatory minimum term. This claim falls within the scope of State v. Le-roux, 689 So.2d 235 (Fla.1996).
I concur in denial of relief on the ground of untimeliness, however, because the Rule 3.850 motion was filed over three years after completion of the mandatory minimum term, by which time defendant should have known of his parole ineligibility. I do not think that the Leroux decision restarts the 2-year time limit for 3.850 motions.
The State has made other arguments for affirmance, but they are either unsupported by the record or are contrary to Leroux.
